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13
                          UNITED STATES DISTRICT COURT
14

15          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
16
       MARLYS JEAN TACKER and JENNY CASE NO.
17                                           2:13−cv−02261−BRO−JCG
       GONZALEZ as individuals and on behalf
18     of all others similarly situated,     NOTICE OF MOTION AND
                                             MOTION FOR CLASS
19                                           COUNSEL’S REQUEST FOR
                              Plaintiffs,    ATTORNEY’S FEES AND COSTS,
20                                           AND CLASS REPRESENTATIVE
              vs.                            INCENTIVE PAYMENTS
21
       COMPASS HEALTH, INC., a California Judge: Hon. Beverly Reid O’Connell
22
       Corporation; and DOES 1 through 10, Date: May 12, 2014
                                           Time: 1:30 p.m.
23                                         Dept.: 14
24                        Defendant.
25

26

27

28



         NOTICE OF MOTION & MOTION FOR ATTORNEYS’ FEES, COSTS, & INCENTIVE
                                    PAYMENTS
                                                1
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.       INTRODUCTION.
 3            On January 6, 2014, this Court granted preliminary approval of this
 4   proposed class action settlement. Now before the Court is Plaintiffs and Class
 5   Counsel’s motion for an award of attorneys’ fees, costs, and incentive payments.
 6   Pursuant to the proposed class action settlement agreement, Class Counsel seeks
 7   an award of attorneys’ fees of 30% of the Maximum Settlement Amount (“MSA”)
 8   of $1.1 million, or $330,000, and reimbursement for verified costs up to $20,000.
 9   Plaintiffs also request that the Court approve their requests for incentive payments
10   based on their efforts in bringing this action and assisting Class Counsel, their
11   general release of claims, and the financial and reputational risk they assumed to
12   vindicate their rights and those of their fellow settlement class members.
13   Compass does not oppose this motion, and not a single class member filed an
14   objection to the requested fees, costs, and incentive payments.
15            Class Counsel respectfully requests that the Court approve the request for
16   $330,000 in attorneys’ fees. Although the request exceeds the 25% benchmark,
17   the following evidence justifies an upward departure: (1) the substantial recovery
18   obtained for the settlement class in the face of hotly disputed claims; (2) Class
19   counsel’s efforts in aggressively and diligently pressing the class claims; (3) Class
20   counsel’s skill and considerable wage and hour class action experience; (4) the
21   complexity of the issues regarding the claims for unpaid wages; (5) the significant
22   risk of non-payment due to Class Counsel taking this matter on a purely
23   contingent basis; (6) not a single class member objected to the requested fees and
24   costs; and (7) the requested 30% fee request yields a reasonable 1.5 multiplier
25   when compared to Class Counsel’s lodestar.
26   ///
27   ///
28   ///

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 1   II.   RELEVANT PROCEDURAL HISTORY AND SUMMARY OF
 2         SETTLEMENT TERMS.
 3   A.    Brief Procedural History.
 4         Plaintiffs filed this lawsuit on March 29, 2013. Within weeks after filing
 5   the complaint, Plaintiffs’ counsel and counsel for Compass participated in several
 6   conferences to discuss the bases of the claims and defenses. Shortly thereafter,
 7   the parties began discussing participating in mediation, which included engaging
 8   in extensive informal discovery to allow the parties to evaluate potential liability
 9   and damages on a class-wide basis. In an effort to facilitate settlement, Plaintiffs’
10   counsel agreed to withhold formally serving the complaint so that Compass could
11   focus its efforts on gathering the documents and information requested by
12   Plaintiffs in connection with mediation. Docket Entry (“DE”) No. 7. In the
13   interim, Plaintiffs conducted further fact investigation into Compass’s meal and
14   rest period practices at its nine facilities, and conducted extensive legal research
15   and analysis of the overtime, meal period, and rest period claims.
16         After weeks of negotiation, Compass produced over two-thousand
17   documents consisting of records for the named Plaintiffs, company policies, and
18   timecard reports and employee earning reports for 20% of the entire putative
19   class. Compass also provided Plaintiffs with further informal information in
20   connection with preparing for mediation regarding the size of the putative class,
21   and various penalty classes. Plaintiffs retained a data analysis professional to
22   comprehensively analyse the payroll and timecard data sample produced by
23   Compass, including over 118,000 workdays in the putative class period. As a
24   result, Plaintiffs were able to determine the average rate of pay for non-exempt
25   employees, the average value of the annual safety bonuses that were excluded
26   from the regular rate of pay, and the average number of regular-time, overtime
27   and double-time hours worked for 20% of the entire putative class across a 4-year
28   time period. Using this data, Plaintiffs were able to estimate the total amount of

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 1   alleged unpaid overtime wages by extrapolating their findings to the entire
 2   putative class. Plaintiffs also determined the number of “major fraction” shifts
 3   that were worked, and determined the frequency of late first meal periods and
 4   second meal period violations among the putative class.
 5         Plaintiffs’ analysis and investigation culminated in mediation on October
 6   21, 2013, with Jeffrey Krivis, an experienced wage and hour class action mediator
 7   in Los Angeles. Although the parties did not reach agreement at the mediation,
 8   Mr. Krivis made a mediator’s proposal for a class-wide resolution of Plaintiffs’
 9   claims. Ultimately, the parties accepted Mr. Krivis’ proposal and executed a
10   Memorandum of Understanding outlining the essential terms of the proposed
11   settlement. On October 24, 2013, the parties advised the Court that they had
12   reached a class-wide resolution. See DE No. 16. The Court set November 25,
13   2013, as the deadline for Plaintiffs to file their motion for preliminary approval of
14   the class action settlement. See DE No. 17. During the weeks that followed, the
15   parties continued negotiating the terms of the proposed class-wide resolution and
16   formalized their agreement and executed the Class Action Settlement Agreement
17   and Joint Stipulation.
18         Plaintiffs timely filed their motion for preliminary approval on November
19   25, 2013. See DE Nos. 18, 20. The motion was heard on January 6, 2014, and the
20   Court granted preliminary approval of the class action settlement, appointed
21   Plaintiffs as Class Representatives, and appointed Hernaldo J. Baltodano and Paul
22   K. Haines as Class Counsel on January 6, 2014. See DE No. 27.
23   B.    This Class Action Settlement Results in Significant Monetary
24         Settlement Payments Given the Litigation Risks Involved.
25         Compass has agreed to pay a MSA of $1.1 million to the settlement class.
26   After deducting amounts for court-approved Plaintiffs’ incentive payments, costs
27   of settlement administration, attorneys’ fees and costs, and the PAGA payment to
28   the CLWDA, the settlement requires Compass to pay a Net Settlement Amount

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 1   (“NSA”) of up to $700,500 to all members of the Settlement Class who filed valid
 2   and timely claim forms. The Settlement Class members are collectively
 3   guaranteed at least fifty percent (50%) of the NSA. Any remaining unclaimed
 4   funds of up to fifty percent (50%) of the NSA will revert to Compass.
 5          Each settlement class member’s projected recovery is based on the number
 6   of her/his Compensable Work Weeks. A “Compensable Work Week” is defined
 7   as a seven-day work week during which a Settlement Class member was actively
 8   employed by Compass as a non-exempt, hourly employee during the putative
 9   class period. If a Settlement Class member was employed for only part of a
10   Compensable Work Week, he or she is credited with a fraction of the
11   Compensable Work Week, rounded up or down to the nearest two-digit decimal.
12   For example, if a Settlement Class member was employed for only one work day
13   during a work week, he or she is credited with 0.14 Compensable Work Weeks,
14   while if a Settlement Class member was employed for two work days during a
15   work week, he or she is credited with 0.29 Compensable Work Weeks. Moreover,
16   former non-exempt employees receive a modest .2 multiplier as consideration for
17   release of claims under Labor Code §203. Based on the number of valid claims
18   filed as of the date of the filing of this motion, the average settlement payment is
19   estimated at $428.70 and the highest payment is valued at $1,061.80, which is
20   substantial given the litigation risks involved. These settlement payments are on
21   par and exceed settlement payments in other judicially-approved wage and hour
22   class settlements. See Section III.B.1, infra.
23   III.   THE COURT SHOULD APPROVE THE FEE AWARD.
24   A.     The Attorney Fee Award Is Warranted Under California Law.
25          Federal Rule of Civil Procedure 23(h) provides that, “[i]n a certified class
26   action, the court may award reasonable attorney’s fees and non taxable costs that
27   are authorized by law or by the parties’ agreement.” See Fed. R. Civ. Proc. 23(h).
28   Because Plaintiffs pled California Labor Code claims, the Ninth Circuit applies

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 1   state law to determine the right to fees and the method for calculating fees. See
 2   Rodriguez v. Disner, 688 F.3d 645, 653 fn. 6 (9th Cir. 2012) (“If…we were
 3   exercising our diversity jurisdiction, state law would control whether an attorney
 4   is entitled to fees and the method of calculating such fees”); Winterrowd v. Am.
 5   Gen. Annuity Ins. Co., 556 F.3d 815, 827 (9th Cir. 2009) (“State law [also]
 6   establishes the required showing for attorney’s fees in an action in diversity”).
 7          Here, Plaintiffs seek reasonable attorneys’ fees and costs pursuant to several
 8   Labor Code statutes, including Labor Code Sections 1194 and 2699(g)(1), Section
 9   216(b) of the FLSA, and Code of Civil Procedure Section 1021.5. See Complaint
10   (“SAC”) at ¶¶33, 40, and 80 and Prayer for Relief No. 15. Labor Code Section
11   1194 is a one-way fee shifting statute and Code of Civil Procedure Section 1021.5
12   is a private attorney general statute. See, e.g., Aleman v. AirTouch Cellular, 209
13   Cal.App.4th 556, 582 (2012) (“A prevailing defendant cannot recover fees in an
14   action under section 1194”); Parks v. Eastwood Ins. Servs., Inc., Case No. SA CV
15   02-507-GLT (MLGx), 2005 WL 6007833 at *2-3 (C.D. Cal. June 28, 2005) (in
16   hybrid FLSA-California state law action, plaintiff’s counsel was entitled to
17   attorney’s fees under California Code of Civil Procedure Section 1021.5); Press v.
18   Lucky Stores, 34 Cal.3d 311, 317-318 (1983) (“The award of attorney fees is
19   proper under [CCP] section 1021.5 if (1) plaintiffs’ action has resulted in the
20   enforcement of an important right affecting the public interest, (2) a significant
21   benefit, whether pecuniary or nonpecuniary, has been conferred on the general
22   public or a large class of persons and (3) the necessity and financial burden of
23   private enforcement are such as to make the award appropriate.”) [internal
24   quotations omitted].1
25
26   1
       These factors are met here. First, the “substantial recovery” of unpaid wages furthers “the
     enforcement of an important right affecting the public interest” with respect to minimum labor
27
     standards concerning the payment of unpaid wages. See, e.g., Cal. Labor Code § 90.5(a) (“It is
28   the policy of this state to vigorously enforce minimum labor standards in order to ensure
     employees are not required or permitted to work under substandard unlawful conditions or for
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 1          Under California law, “[w]hen a number of persons are entitled in common
 2   to a specific fund, and an action brought by a plaintiff . . . for the benefit of all
 3   results in the creation . . . of that fund, such plaintiff . . . may be awarded
 4   attorney’s fees out of the fund.” See 21st Century Ins. Co. v. Superior Court, 47
 5   Cal.4th 511, 520 (2009). In awarding attorneys’ fees from a common fund,
 6   courts have discretion to employ either the percentage-of-recovery method or the
 7   lodestar method. See In re Bluetooth Headset Products Liability Litigation, 654
 8   F.3d 935, 942 (9th Cir. 2011); see also Adoma v. The University of Phoenix, Inc.,
 9   913 F. Supp. 2d 964, 981-982 (E.D. Cal. 2012) (applying percentage of recovery
10   method in wage and hour action alleging violations of Labor Code and FLSA).
11   Moreover, courts utilizing the percentage-of-the fund approach can use a lodestar
12   as a “cross-check” on the reasonableness of the requested percentage award. See
13   Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1050-51 (9th Cir. 2002), but see
14   Craft v. County of San Bernardino, 624 F. Supp. 2d 1113, 1122 (C.D. Cal. 2008)
15   (“A lodestar cross-check is not required in this circuit, and in some cases is not a
16   useful reference point.”).
17          In the Ninth Circuit, the typical range of reasonable attorney’s fees is 20 to
18   33.3 percent of the total settlement value, with 25% considered a benchmark
19
20   employers that have not secured the payment of compensation, and to protect employers who
     comply with the law from those who attempt to gain a competitive advantage at the expense of
21
     their workers by failing to comply with minimum labor standards.”). Second, the relief
22   obtained through the settlement confers a “significant benefit” on a “large class of persons.”
     See, e.g., Estrada v. FedEx Ground Package System, Inc., 154 Cal.App.4th 1, 16-17 (2007) (in
23   class action brought under California Labor Code, court held that attorney fee award was
     warranted because “Estrada’s personal motivation does not diminish the fact that he pursued
24
     this public interest class action not only for himself but on behalf of a class comprised of
25   FedEx’s past and present drivers and ultimately obtained awards for 209 drivers. [citations
     ommitted] No more is required to satisfy the ‘significant benefit,’ ‘public interest,’ and ‘large
26   class of persons’ requirements of [Code of Civil Procedure] section 1021.5.”). Third, and as
     explained in detail in Section III.B.7, infra, Class Counsel’s lodestar establishes that “the
27
     necessity and financial burden of private enforcement are such as to make the award
28   appropriate” because the financial burden this suit placed on Plaintiffs was out of proportion to
     their personal stake in the case. See Baggett v. Gates, 32 Cal.3d 128, 144 (1982).
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 1   percentage. See Powers v. Eichen, 229 F.3d 1249, 1256 (9th Cir. 2000); Cicero v.
 2   DirecTV, Inc., Case No. EDCV 07-1182, 2010 WL 2991486 at *6 (C.D. Cal. July
 3   27, 2010) [and cases cited therein]. The percentage applied in a particular case,
 4   however, depends on the facts of each case and “in most common fund cases, the
 5   award exceeds that benchmark” percentage. See Knight v. Red Door Salons, Inc.,
 6   Case No. 08-01520 SC, 2009 WL 248367 at *3 (N.D. Cal. Feb. 2, 2009); see also
 7   In re Activision Sec. Litig., 723 F. Supp. 1373, 1377 (N.D. Cal. 1989) (stating that
 8   “nearly all common fund awards range around 30%”); Chavez v. Netflix, Inc., 162
 9   Cal.App.4th 43, 66 fn. 11 (2008) (“Empirical studies show that, regardless
10   whether the percentage method or the lodestar method is used, fee awards in class
11   actions average around one-third of the recovery”) [internal citation omitted].
12   Notably, “courts usually award attorneys’ fees in the 30-40% range in wage and
13   hour class actions that result in recovery of a common fun under $10 million.” See
14   Cicero, supra, 2010 WL 2991486 at *6.
15         Here, Class Counsel seek an award of 30% of the common fund based on
16   (1) the substantial recovery obtained for the settlement class in the face of hotly
17   disputed claims; (2) Class counsel’s efforts in aggressively and diligently pressing
18   the class claims forward; (3) Class counsel’s skill and considerable wage and hour
19   class action experience; (4) the complexity of the issues regarding the claims for
20   unpaid wages; (5) the significant risk of non-payment due to Class Counsel taking
21   this matter on a purely contingent basis; (6) the fact that not a single class member
22   objected to the requested attorneys’ fees and costs; and (7) because the requested
23   fee request yields a modest 1.5 multiplier when compared to Class Counsel’s
24   lodestar. See Craft, supra, 624 F.Supp.2d at 1116-17 (C.D. Cal. 2008); see also
25   Vizcaino, supra, 290 F.3d at 1048-1050 (in assessing whether percentage
26   requested is fair and reasonable, courts generally consider the results achieved, the
27   risk of litigation, the skill required, the quality of work performed, the contingent
28   nature of the fee and the financial burden, and the awards made in similar cases).

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 1   B.     The Requested 30% Attorney Fee Award is Justified.
 2        1. Class Counsel Obtained a Substantial Recovery for the Class.
 3          Plaintiffs obtained a substantial recovery for the settlement class in the face
 4   of hotly disputed claims. Indeed, Compass raised thirty-two affirmative defenses
 5   and planned to vigorously oppose any contested motion for class certification on
 6   the grounds that individual questions of fact would still predominate over their
 7   facially unlawful meal and rest period policies. See, e.g., Ordoñez v. Radio
 8   Shack, Inc., Case No. CV 10-7060-CAS (JCGx), 2013 WL 210223 (C.D. Cal.
 9   January 17, 2013); In re Taco Bell Wage & Hour Actions, Case No. CV F 07–
10   1314 LJO DLB, 2012 WL 5932833 (E.D. Cal. November 27, 2012); Cummings
11   v. Starbucks Corp. et al., Case No. CV 12-06345-MWF (FFMx) (C.D. Cal.
12   March 24, 2014) (all denying certification of meal and/or rest period claims).
13   Additionally, in the wake of the Supreme Court’s decision in Comcast Corp. v.
14   Behrend, 133 S. Ct. 1426 (2013), Compass argued that Plaintiffs could not certify
15   any claims because proof of damages was too individualized. See, e.g., Forrand
16   v. Fed. Express Corp., Case No. CV 08-1360 DSF (PJWx), 2013 WL 1793951 at
17   *2 (C.D. Cal. April 25, 2013). (“The Court further finds that, considering
18   Comcast . . . [plaintiff] fails to meet the Rule 23(b)(3)’s certification standard.”);
19   Buchanan v. Homeservices Lending, LLC, Case No. 11cv0922 L(MDD), 2013
20   WL 1788579 at *6 (S.D. Cal. April 25, 2013) (relying on Comcast and denying
21   certification of Labor Code §§ 221 and 2802 claims).
22          Despite these obstacles, Plaintiffs secured a significant recovery for the
23   settlement class. As detailed in Plaintiffs’ concurrently-filed Motion for Final
24   Approval, this settlement compensates the class for their underpaid overtime
25   wages, and provides additional, tangible compensation for hotly disputed meal
26   and rest period claims and related penalty claims. Indeed, the average settlement
27   payment for members of the settlement class is $428.70, which is on par and also
28   exceeds average settlement payments in similar wage and hour class action

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 1   settlements. See, e.g., Casique v. ValleyCrest Landscape Development, Inc., Case
 2   No. CV09-9114 GHK (SSx) (C.D. Cal. November 2, 2011) (granting final
 3   approval of proposed class action settlement where average recovery to Settlement
 4   Class members was estimated at $345); Jaime v. Standard Parking Corp., Case
 5   No. CV08-04407 AHM (Rzx) (C.D. Cal. June 22, 2011) (granting final approval
 6   of class action settlement based on average settlement class member recovery of
 7   $462.22); Mora v. Bimbo Bakeries USA, Inc., Case No. CV 10-3748 JAK (RZx)
 8   (C.D. Cal. April 16, 2012) (granting final approval of settlement where average
 9   Settlement Class member recovery was $561.58); Sorenson v. PetSmart, Inc.,
10   Case No. 2:06-CV-02674-JAM-DAD (E.D. Cal. December 17, 2008) (wage and
11   hour class action settlement approved where average class member recovery was
12   approximately $60); Barbosa v. Cargill Meat Solutions Corp., Case No. 1:11-cv-
13   00275-SKD, 2013 WL 3340939 at *11-13 (E.D. Cal. July 2, 2013) (wage and
14   hour class action settlement of $1,290,000 for 1,837 hourly employees yielded
15   maximum settlement payment of $922.29 and average settlement payment of
16   $601.91); Schiller v. David’s Bridal, Inc., Case No. 1:10-cv-00616-AWI-SKO,
17   2012 WL 2117001 at *17 (E.D. Cal. June 11, 2012) (“Plaintiff notes that Class
18   Members will receive an average of approximately $198.70, with the highest
19   payment to a Class Member being $695.78. Plaintiff contends that this is a
20   substantial recovery where Defendant asserted compelling defenses to liability;
21   Plaintiff also notes several similar actions where the gross recoveries per class
22   member were less than $90 . . . Overall, the Court finds that the results achieved
23   are good”); Williams v. Centerplate, Inc., Case Nos. 11-CV-2159 H-KSC, 12-CV-
24   0008-H-KSC, 2013 WL 4525428 at *4 (S.D. Cal. August 26, 2013) (granting final
25   approval of class action settlement where average recovery for each class member
26   was approximately $108).
27         In light of this substantial recovery, Class Counsel has performed a valuable
28   public service because “[p]ublic policy has long favored the full and prompt

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 1   payment of wages due an employee… [w]ages are not ordinary debts….[B]ecause
 2   of the economic position of the average worker and, in particular, his dependence
 3   on wages for the necessities of life for himself and his family, it is essential to the
 4   public welfare that he receive his pay promptly.” See Pressler v. Donald L. Bren
 5   Co., 32 Cal.3d 831, 837 (1982) (internal citations and quotations omitted).
 6   “California’s labor statutes reflect a strong public policy in favor of full payment
 7   of wages for all hours worked.” See Armenta v. Osmose, Inc., 135 Cal.App.4th
 8   314, 324 (2005). And given the relatively small individual amounts at issue, this
 9   settlement furthers public policy by using the class action procedure to provide
10   redress to those individuals who would otherwise not be able to access the judicial
11   system to recover their unpaid wages. As the Ninth Circuit recently stated in
12   Leyva v. Medline Industries, Inc., “In light of the small size of the putative class
13   members’ potential individual monetary recovery, class certification may be the
14   only feasible means for them to adjudicate their claims.” 716 F.3d 510, 515 (9th
15   Cir. 2013).
16      2. Class Counsel’s Efforts Support the Requested Fee Award.
17         As detailed above in Section II.A, supra, Class Counsel diligently and
18   aggressively litigated this case from the outset. Class Counsel submits that their
19   efforts led to a significant recovery for the settlement class, particularly in this
20   complex action involving hotly disputed claims, by positioning the case towards
21   an early class-wide resolution. See, e.g., In re Activision Securities Lit., 723 F.
22   Supp. 1373, 1378-79 (N.D. Cal. 1989) (“Therefore, this court concludes that in
23   class action common fund cases the better practice is to set a percentage fee and
24   that, absent extraordinary circumstances that suggest reasons to lower or increase
25   the percentage, the rate should be set at 30%. This will encourage plaintiffs'
26   attorneys to move for early settlement, provide predictability for the attorneys and
27   the class members, and reduce the time consumed by counsel and court in dealing
28   with voluminous fee petitions.”).

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 1         For instance, Class Counsel pressed the class claims forward by thoroughly
 2   researching and analysing the hotly disputed claims at issue, immediately
 3   conducting informal discovery and analysis, including the review analysis of
 4   timecard and payroll data for 411 members of the settlement class and thousands
 5   of documents. Class Counsel also interviewed other non-exempt employees, met
 6   and conferred with Defendants regarding the scope of data needed for a class-wide
 7   mediation, and analysed voluminous payroll and timekeeping data to create
 8   damage models to estimate the amount of unpaid overtime wages, premium pay
 9   for meal and rest period violations, and penalties for wage statement and late
10   payment violations, and civil penalties under PAGA. Moreover, after the Court
11   granted preliminary approval and notice was sent to the settlement class, Class
12   Counsel communicated in English and Spanish with approximately seventy-five
13   class members to answer their questions about this lawsuit, the proposed
14   settlement, and their rights under the settlement. The response from the settlement
15   class members has been overwhelmingly positive.
16      3. Class Counsel’s Experience and Skill Also Support the Fee Award.
17         Class Counsel possess significant wage and hour class action experience.
18   See Section III.7.B.b, infra; see also DE No. 60 at 17:7-23. Collectively, Class
19   Counsel bring two decades of plaintiff and defense-side wage and hour class
20   action experience pertaining to claims alleging overtime, meal and rest period, and
21   related wage statement and final payment violations. Declaration of Hernaldo J.
22   Baltodano (“Baltodano Decl.”), ¶¶ 1-11; Declaration of Paul K. Haines (“Haines
23   Decl.”), ¶¶ 1-7. They have been certified as class counsel in numerous other
24   cases. Id. Moreover, Class Counsel is also culturally competent and respected by
25   their colleagues, as evidenced by Mr. Baltodano’s Spanish-speaking competencies
26   and his recognition as a Super Lawyer in the area of employment litigation among
27   Southern California attorneys. Baltodano Decl., ¶¶ 3 & 11. “All class counsel
28   are qualified, experienced, and skilled attorneys, who prosecuted this action

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 1   effectively. As a consequence, this factor weighs in favor of a generous fee
 2   award.” See Fernandez v. Victoria Secret Stores, LLC, Case No. CV 06-04149
 3   MMM (SHx), 2008 WL 8150856 at *12 (C.D. Cal. July 21, 2008).
 4      4. The Complexity of the Issues Also Support the Fee Award.
 5         This litigation involved complex and unsettled issues pertaining to liability
 6   regarding Compass’ overtime and rest and meal period obligations under
 7   California law and the FLSA, as well as complex issues regarding the use of
 8   representative evidence, the imposition of penalties, and proving class-wide
 9   liability under Brinker and Comcast. Among other things, Compass asserted that
10   its safety bonuses were discretionary and need not be included in regular rate
11   calculations. Moreover, Compass asserted that, even if the bonuses were required
12   for inclusion, their impact on wages was de minimis. Compass also asserted that
13   class certification was inappropriate because of the predominance of individual
14   liability and damage issues. Had Compass prevailed on any motion for class
15   certification or motion for decertification, it was unlikely that members of the
16   settlement class would have individually pursued their claims. See, Leyva, supra,
17   716 F.3d at 515 (“In light of the small size of the putative class members’
18   potential individual monetary recovery, class certification may be the only
19   feasible means for them to adjudicate their claims.”).
20         Because of the complexity of the issues in this case, an upward departure of
21   the 25% benchmark is warranted because Plaintiffs pursued novel, yet meritorious
22   claims concerning Compass’ miscalculation of the regular rate of pay and meal
23   and rest period practices, and tenaciously litigated the claims. See, e.g., Murillo v.
24   Pacific Gas & Elec. Co., Case No. CIV 2:08-1974 WBS GGH, 2010 WL 2889728
25   at *12 (E.D. Cal. July 21, 2010) (awarding multiplier of 1.5 because “This case
26   contained multiple novel legal issues, including whether a payment of cash in lieu
27   of health benefits needs to be included in the calculation of overtime under the
28   FLSA”); Adoma, supra, 913 F. Supp. 2d at 983 (“It is important that labor and

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 1   employment attorneys be rewarded for pursuing novel claims (so long as they are
 2   meritorious) and for litigating these claims with tenacity, rather than cherry-
 3   picking simple cases or settling difficult cases for small amounts”).
 4      5. The Risk of Non-Payment Existed At All Times.
 5         “A contingent fee must be higher than a fee for the same legal services
 6   paid as they are performed. The contingent fee compensates the lawyer not only
 7   for the legal services he renders but for the loan of those services.” Graham v.
 8   DaimlerChrysler Corp., 34 Cal.4th 553, 580 (2004). Here, Class Counsel took
 9   this matter on a purely contingent basis and have litigated this case for over a
10   year on a purely contingent basis. Baltodano Decl., ¶ 35; Haines Decl., ¶ 15.
11   Not only have Class Counsel rendered their services without any compensation,
12   they have advanced all costs. See id. Thus, because there was a real risk that they
13   would not be compensated for their work, the requested fee award is appropriate.
14   See Barbosa, supra, 2013 WL 3340939 at *16 (“Like this case, where recovery is
15   uncertain, an award of one-third of the common fund as attorneys’ fees has been
16   found to be appropriate”); Murillo, supra, 2010 WL 2889728 at *12 (“Fee
17   enhancements in contingency cases exists to compensate for the risk of loss
18   inherent in such cases and create financial incentives for attorneys to take cases
19   to protect important rights and goals, such as fair labor standards”); Ketchum v.
20   Moses, 24 Cal.4th 1122, 1132-33 (2001) (“A lawyer who both bears the risk of
21   not being paid and provides legal services is not receiving the fair market value
22   of his work if he is only paid for the second of these functions. If he is paid no
23   more, competent counsel will be reluctant to accept fee award cases.”) [internal
24   citation omitted].
25      6. The Reaction of the Settlement Class Is Positive.
26         Notice of this proposed settlement, including the amounts requested for
27   attorneys’ fees, costs, and Plaintiffs’ incentive awards, was mailed to 2,539
28   settlement class members. Not a single class member filed an objection to the

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 1   requested fee award. Baltodano Decl., ¶ 34; Declaration of Ani Shirinian
 2   (“Shirinian Decl.”), ¶ 18. This factor also strongly supports the requested fee
 3   award. See, e.g., Thieriot v. Celtic Ins. Co., Case No. C 10-04462 LB, 2011 WL
 4   1522385 at *6 (N.D. Cal. April 21, 2011) (“The fact that no members of the 390–
 5   person class objected to the proposed 33% fee award—which was also
 6   communicated in the notice—supports an increase in the benchmark rate.”);
 7   McPhail v. First Command Fin. Planning, Inc., Case No. 05cv179-IEG-JMA,
 8   2009 WL 839841 at *6 (S.D. Cal. March 30, 2009) (“The presence of a small
 9   minority of objectors strongly supports a finding that the settlement is fair,
10   reasonable, and adequate.”).
11      7. Class Counsel’s Lodestar Reflects a Reasonable Multiplier.
12         Although the Court is not required to conduct a lodestar cross-check, Class
13   Counsel’s lodestar also supports the requested 30% fee award. As detailed below,
14   because Class Counsel’s lodestar is approximately $219,810, the 30% requested
15   fee award should be approved because it reflects a reasonable multiplier of 1.5.
16                a. The hours expended on this litigation are reasonable.
17         To determine the reasonableness of Class Counsel’s requested fee award,
18   the Court should determine “the number of hours reasonably expended on the
19   litigation multiplied by a reasonable hourly rate.” See Hensley v. Eckerhart, 461
20   U.S. 424, 433 (1983). Referred to as the “lodestar method,” the California
21   Supreme Court in the seminal case of Serrano v. Priest described it as follows:
22                The starting point of every fee award, once it is recognized
23
                  that the court’s role in equity is to provide just compensation
                  for the attorney, must be a calculation of the attorney’s
24                services in terms of the time he has expended on the case.
25                Anchoring the analysis to this concept is the only way of
                  approaching the problem that can claim objectivity, a claim
26
27
28

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 1                  which is obviously vital to the prestige of the bar and the
                    courts.2
 2
            According to the United States Supreme Court, the court should include in
 3
     any fee award all hours which were “reasonable expended.” See Hensley, supra,
 4
     461 U.S. at 433. Concurrently filed herewith are sworn declarations from Class
 5
     Counsel, Hernaldo J. Baltodano and Paul K. Haines, attesting to (1) the experience
 6
     and qualifications of the attorneys and paralegals who worked on this case, (2)
 7
     those attorneys and paralegals’ customary billing rates during this case, and (3)
 8
     the hours reasonably expended by those attorneys and paralegals in prosecuting
 9
     this case. See Fernandez, supra, 2008 WL 8150856 at *9, fn. 35. Here, Class
10
     Counsel will have incurred at least 464 hours of attorney and paralegal time on
11
     this case through final approval, reflecting a lodestar of $219,810. See Baltodano
12
     Decl., ¶¶ 28-33; Haines Decl., ¶¶ 8-13. “Where the lodestar method is used as a
13
     cross-check to the percentage method, it can be performed with a less exhaustive
14
     cataloguing and review of counsel’s hours.” Barbosa, supra, 2013 WL 3340939 at
15
     *19. Although “the lodestar cross-check can be performed with a less exhaustive
16
     cataloguing and review of counsel’s hours,” see Fernandez, supra, 2008 WL
17
     8150856 at *14, fn. 35, Class Counsel have nonetheless prepared attorney and
18
     paralegal time reports reflecting all hours spent to date working on this case and,
19
     if the Court deems it necessary, Class Counsel can make these reports available to
20
     the Court for an in camera review. Baltodano Decl., ¶ 30; Haines Decl., ¶ 10.
21
            Class Counsel is entitled to be compensated for “every item of service
22
     which, at the time rendered, would have been undertaken by a reasonable and
23
     prudent lawyer to advance or protect his client’s interest.” See Moore v. Jas H.
24
     Matthews & Co., 682 F.2d 830, 839 (9th Cir. 1982); see also Hensley, supra, 461
25
     U.S. at 431 (the appropriate number of hours includes all time “reasonably
26
27
     2
28    See Serrano v. Priest, 20 Cal.3d 25, 48 n.23 (1977) (hereinafter “Serrano III”), citing City of
     Detroit v. Grinnel Corp., 495 F.2d 448, 470 (2nd Cir. 1974).
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 1   expended in pursuit of the ultimate result achieved in the same manner that an
 2   attorney traditionally is compensated by a fee-paying client for all the time
 3   reasonably expended on the matter”). This includes the time spent preparing this
 4   motion for attorneys’ fees. See, e.g., In re Nucorp Energy, Inc., 764 F.2d 655,
 5   659-660 (9th Cir. 1985) (“In statutory fee cases, federal courts, including our own,
 6   have uniformly held that time spent in establishing the entitlement to and amount
 7   of the fee is compensable”).
 8         As set forth in Class Counsel’s concurrently-filed declarations , Class
 9   Counsel performed the following tasks, all of which were reasonably necessary in
10   litigating this case against Defendants: pre-filing fact investigation and legal
11   research and analysis; interviewing the named plaintiffs; performing on-going
12   legal research and analysis regarding the certification of claims in light of Dukes,
13   Brinker, and Comcast; translating pleadings and discovery requests from English
14   to Spanish for Plaintiff Gonzalez; analysing Plaintiffs’ payroll and records of
15   hours worked; travelling to Los Angeles to attend mediation and court-hearings;
16   discussing case strategy with the named plaintiffs on numerous occasions, both in-
17   person and via telephone; reviewing 2,053 pages of documents and timecard
18   reports and employee earning reports for 20% of the entire putative class;
19   reviewing and analysing class-wide data produced by Compass; interviewing
20   putative class members; preparing for the depositions of Compass’ 30(b)(6)
21   witnesses and the named plaintiffs; preparing for mediation and attending
22   mediation; negotiating and drafting the proposed class action settlement;
23   preparing the motions for preliminary and final approval of class action settlement
24   and related memoranda; communicating in English and Spanish with
25   approximately seventy-five class members about this lawsuit and the settlement
26   administration process; monitoring the settlement administration process
27   including, but not limited to, the review, analysis, and resolution of claim disputes
28   and deficiencies; preparing the motion for final approval of class action

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 1   settlement; preparing this motion for attorneys’ fees, costs, and incentive payment;
 2   and preparing for and attending the final approval hearing. See Baltodano Decl., ¶
 3   30; Haines Decl., ¶ 10.
 4         The hours worked on this care are reasonable because Class Counsel
 5   believed the work to be “reasonably expended in pursuit of success at the point in
 6   time when the work was performed.” See Wooldridge v. Marlene Industries
 7   Corp., 898 F.2d 1169, 1177 (6th Cir. 1990) (“The question is not whether a party
 8   prevailed on a particular motion or whether in hindsight the time expenditure was
 9   strictly necessary to obtain the relief achieved. Rather, the standard is whether a
10   reasonable attorney would have believed the work to be reasonably expended in
11   pursuit of success at the point in time when the work was performed.”). Surely,
12   an opposite standard for determining “reasonableness” would put Class Counsel
13   counsel in the precarious position of constantly second-guessing litigation strategy
14   in a statutory fee case even though it would clearly be reasonable and in the best
15   interests of the client for counsel to pursue the same litigation strategy for a fee-
16   paying client. See, e.g., Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th
17   Cir. 2008) (“[L]awyers are not likely to spend unnecessary time on contingency
18   fee cases in the hope of inflating their fees. The payoff is too uncertain, as to both
19   the result and the amount of the fee . . . the court should defer to the winning
20   lawyer’s professional judgment [regarding hours]; after all, he won, and might not
21   have, had he been more of a slacker.”).
22                b. The Requested Hourly Rates are Reasonable.
23         To determine Class counsel’s hourly rates, the Court should look to
24   prevailing rates in the community for similar work performed by attorneys of
25   comparable skill, experience, and reputation. See Chalmers v. City of Los Angeles,
26   796 F.2d 1205, 1210-1211 (9th Cir. 1986). The Court can rely on its own
27   familiarity with the legal market in determining the prevailing rate for similar
28   work. See Ingram v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011). The “relevant

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 1   community” is typically the community in which the district court sits. See
 2   Schwarz v. Sec’y of Health & Human Services, 73 F.3d 895, 906 (9th Cir. 1995).
 3   Here, Class Counsel’s request for attorneys’ fees using a lodestar cross-check is
 4   based on the following hourly rates: $600 for 12-year attorneys Hernaldo J.
 5   Baltodano (Class of 2002) and Erica Flores Baltodano (Class of 2002), $500 for 8-
 6   year attorney Paul K. Haines (Class of 2006), and $320 for 2-year attorney
 7   Fletcher W. Schmidt (Class of 2012). Class Counsel also request a billable hourly
 8   rate of $175 for paralegals Alice W. Mitchell and Mai Suzuki.
 9   Class Counsel submit that these hourly rates are reasonable based on Class
10   Counsel’s skill, wage and hour class action experience, reputation, fee awards to
11   other attorneys of similar experience in the Central District of California, and the
12   Laffey Matrix. See Blum v. Stenson, 465 U.S. 886, 895 (1984) (lodestar should be
13   based on using hourly rates that are “the prevailing market rates in the relevant
14   community”). “Courts may find hourly rates reasonable based on evidence of
15   other courts approving similar rates or other attorneys engaged in similar litigation
16   charging similar rates.” See Parkinson v. Hyundai Motor Am., 796 F.Supp.2d
17   1160, 1172 (C.D. Cal. 2010).
18         As detailed in Class Counsel’s supporting declarations and the declarations
19   submitted in support of Plaintiffs’ motion for preliminary approval, Paul K.
20   Haines has extensive wage and hour class action experience, having handled
21   numerous wage and hour class actions at the national law firms of Littler
22   Mendelson and Morgan Lewis & Bockius LLP. See DE No. 18-2. Hernaldo J.
23   Baltodano also has extensive wage and hour class action experience, having
24   handled numerous wage and hour class actions at the national law firm of Robins
25   Kaplan Miller & Ciresi LLP. See DE No. 18-1; Attachment No. 1. Moreover, for
26   nine years, Thomson Reuters and Los Angeles Magazine recognized Mr.
27   Baltodano as a Top Young Attorney in Southern California in the annual Rising
28   Star Edition of Super Lawyer. Baltodano Decl., ¶ 3. This is an honor awarded to

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 1   no more than two and a half percent of attorneys under the age of forty in
 2   Southern California each year. Id. In 2014, Thompson Reuters and Los Angeles
 3   Magazine recognized Mr. Baltodano as a Southern California Super Lawyer in the
 4   practice of employment litigation. Id. This is an honor awarded to no more than
 5   five percent of all attorneys in Southern California. Id.
 6         Courts in this district have approved similar hourly rates for attorneys with
 7   similar experience as Class Counsel. See, e.g., Gonzalez v. USF Reddaway, Inc.,
 8   Case No. 5:10-CV-01514-AHM-OP (C.D. Cal. April 30, 2012) (approving hourly
 9   rate of $575 for an attorney with 10.8 years in practice in wage and hour class
10   action settlement); Castro v. UPS Ground Freight, Inc., Case No. CV 08-4898
11   ODW (CWx) (C.D. Cal. September 10, 2009) (approving hourly rate of $500 for
12   2003 law school graduate in wage and hour class action settlement for work
13   performed in 2008); Charlebois v. Angels Baseball LP, Case No. SACV 10-0853
14   DOC (ANx), 2012 WL 2449849 at *5 (C.D. Cal. May 30, 2012) (in 2012,
15   approving hourly rate of $450 for attorney with six years of experience for work
16   performed in 2011); Plows v. Rockwell Collins, Inc., Case No. SACV 10-1936
17   DOC (MANx) (C.D. Cal. August 6, 2012) (approving billable rate of $475 for
18   2004 law school graduate in wage and hour class action settlement for work
19   performed in 2011).
20         Class Counsel’s requested billable rates are also appropriate under the
21   Laffey Matrix. “One more general way to examine the reasonableness of hourly
22   rates is to compare them to the Laffey Matrix, a widely recognized compilation of
23   attorney and paralegal rate data used in the District of California, frequently used
24   in fee award cases.” Bond v. Ferguson Enterprises, Inc., Case No. 1:09-cv-1662
25   OWW MJS, 2011 WL 2648879 at *12 (E.D. Cal. June 30, 2011). The Laffey
26   Matrix has been used in this district. See, e.g., Fernandez, supra, 2008 WL
27   8150856 at *14 (“Here, it is plaintiffs who propose that the Laffey matrix be used
28   to approximate the lodestar. The court therefore accedes to their request.”). In

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 1   Bond, supra, the Court noted that an attorney with 8 to 10 years of experience as
 2   of 2011 commanded a billable rate of $522 according to the Laffey Matrix. See
 3   2011 WL 2648879 at *12. According to the Laffey Matrix, for the period June 1,
 4   2013, to May 31, 2014, the hourly rate is $175 for a paralegal, $320 for an
 5   attorney who is 1 to 3 years out of law school, $567 for an attorney who is 8 to 10
 6   years out of law school, and $640 for an attorney who is 11 to 19 years out of law
 7   school. See Baltodano Decl., ¶ 33 and Exh. B attached thereto [Laffey Matrix].
 8   For these reasons, Class Counsel respectfully request that the Court approve the
 9   requested hourly rates of $600 for Hernaldo J. Baltodano and Erica Flores
10   Baltodano, $500 for Paul K. Haines, $320 for Fletcher W. Schmidt, and $175 for
11   paralegals Alice W. Mitchell and Mai Suzuki.
12                c. The Lodestar Multiplier is also Reasonable.
13         “It is an established practice in the private legal market to reward attorneys
14   for taking the risk of non-payment by paying them a premium over their normal
15   hourly rates for winning contingency cases.” Fischell v. Equitable Life Assur.
16   Society of U.S., 307 F.3d 997, 1008 (9th Cir. 2002). Based on Class Counsel’s
17   hours and requested hourly rates, Class Counsel’s lodestar is approximately
18   $219,810. See Baltodano Decl., ¶ 29; Haines Decl., ¶ 9 [detailing hours spent by
19   each attorney and paralegal]. Therefore, the requested 30% common-fund fee
20   request yields a multiplier of 1. 5, which Class Counsel submit is reasonable given
21   that lodestar multipliers range from 1.0 to 4.0. See, e.g., Vizcaino, supra, 290 F.3d
22   at 1051 fn. 6 (finding that multipliers ranging from 1.0 to 4.0 are frequently
23   awarded in common fund cases, with slightly over half of the cases surveyed
24   awarding multipliers in the 1.5-3.0 range); see also Fernandez, supra, 2008 WL
25   8150856 at *16 (in awarding 34% of the common fund as attorneys’ fees, which
26   represented a 1.82 multiplier to the lodestar amount, court stated, “Both of these
27   increases appropriately award class counsel for their risk in taking this case on a
28   contingency basis and litigating the case with diligence and skill.”); McKenzie v.

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 1   Fed. Express Corp., Case No. CV 10–02420 GAF (PLAx), 2012 WL 2930201
 2   (C.D. Cal. July 2, 2012) (awarding multiplier of 3.2 in class action settlement
 3   where plaintiff alleged violation of Labor Code Section 226); Odrick v.
 4   Unionbancal Corp., Case No. C 10-5565 SBA, 2012 WL 6019495 at *6 (N.D.
 5   Cal. December 3, 2012) (approving multiplier of approximately 1.95 of the
 6   lodestar because of the results class counsel achieved for the class); Franco v.
 7   Ruiz Products, Inc., Case No. 1:10-cv-02354-SKO, 2012 WL 5941801 at *22
 8   (E.D. Cal. November 27, 2012) (“Based on the overall success, the absence of
 9   opposition, and Class Counsel’s well-documented hours worked in this action,
10   Plaintiff’s request for a multiplier of 1.31 of its lodestar is reasonable.”); Garcia v.
11   Gordon Trucking, Inc., Case No. 1:10-CV-0324 AWI SKO, 2012 WL 5364575 at
12   *10 (E.D. Cal. October 31, 2012) (“Based on the overall success, the skill with
13   which the case was prosecuted, the substantial legal risks associated with
14   Plaintiffs’ claims, and the financial risks borne by Class Counsel, Plaintiff’s
15   request for a multiplier of 1.28 of its lodestar is reasonable.”).
16   IV.    PLAINTIFFS’ LITIGATION EXPENSES ARE RECOVERABLE.
17          Class Counsel and Plaintiffs also seek, and Defendant does not oppose, a
18   request for $20,000 in out-of-pocket costs incurred in litigating this matter.
19   Again, not a single class member filed an objection to this settlement, including
20   the requested $20,000 for reimbursement of costs. Baltodano Decl., ¶ 34;
21   Shirinian Decl., ¶ 18. Class Counsel’s collective out-of-pocket costs are
22   $19,640.67, and include filing fees, legal research expenses, copying costs,
23   postage, federal express charges, mileage, and travel expenses for court hearings
24   and mediation. See Baltodano Decl., ¶ 31 and Exh. A attached thereto; Haines
25   Decl., ¶ 11 and Exh. A attached thereto. The litigation expenses by Class Counsel
26   were reasonably incurred.3 Thus, the Court should grant the request for costs.
27
     3
28    See Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir. 1994) (counsel should recover “those out-of-
     pocket expenses that would normally be charged to a fee paying client”); see also Ashker v.
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 1   V.     THE INCENTIVE PAYMENTS SHOULD BE APPROVED.
 2          Class Counsel, on behalf of Class Representatives Tacker and Gonzalez,
 3   requests a $5,000 incentive payment for each named plaintiff. Not a single class
 4   member filed an objection to this request. Baltodano Decl., ¶ 34; Shirinian Decl.,
 5   ¶ 18. In Gentry v. Superior Court, the California Supreme Court acknowledged
 6   that an employer’s current employees are unlikely to seek legal redress, stating,
 7   “retaliation against employees for asserting statutory rights under the [California]
 8   Labor Code is widespread,” and, thus, “fear of retaliation for individual suits
 9   against an employer is a justification for class certification in the area of
10   employment litigation.” See 42 Cal.4th 443, 460 (2007); see also Kasten v. Saint-
11   Gobain Performance Plastics Corp., 131 S. Ct. 1325, 1333 (2011) (recognizing
12   that “fear of economic retaliation” can force employees “quietly to accept
13   substandard conditions”). Indeed, “it is the intent of the Legislature in section
14   1194 that minimum wage and overtime laws should be enforced in part of private
15   action brought by aggrieved employees.” See Gentry, 42 Cal.4th at 455-56.
16          Here, Plaintiffs filed this class action lawsuit to enforce California and the
17   FLSA’s wage and hour laws through private enforcement. See Declaration of
18   Marlys Jean Tacker (“Tacker Decl.”), ¶ 3; Declaration of Jenny Gonzalez
19   (“Gonzalez Decl.”), ¶ 3. Plaintiff Tacker and Gonzalez each spent dozens of
20   hours assisting Class Counsel in prosecuting this case. Their efforts included
21   contacting settlement class members, gathering documents for use in this lawsuit,
22
23   Sayre, Case No. 05–03759 CW, 2011 WL 825713 at * 3 (N.D. Cal. March 7, 2011) (“The costs
     of reproducing pleadings, motions and exhibits are typically billed by attorneys to their fee-
24
     paying clients” and are reimbursable); Trustees of Const. Indust. & Laborers Health & Welfare
25   Trust v. Redland Ins. Co., 460 F.3d 1253, 1258-1259 (9th Cir. 2006) (legal research costs
     reimbursable); In re Immune Response Securities Litigation, 497 F. Supp. 2d 1166, 1177-1178
26   (S.D. Cal. 2007) (mediation expenses, consultant and expert fees, legal research, copies,
     postage, filing fees, messenger and federal express costs reimbursable); Marhoefer, supra, 24
27
     F.3d at 19 (postage expenses reimbursable); In re Mediation Vision Tech. Sec. Litigation, 913 F.
28   Supp. 1362, 1371 (N.D. Cal. 1996) (“A filing fee or serving fee is unquestionably a necessary
     expense of every litigation”).
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 1   meeting with Class Counsel on numerous occasions, strategizing with Class
 2   Counsel, preparing for their deposition, and communicating with Class Counsel
 3   during mediation. See Baltodano Decl., ¶ 12. Plaintiffs Tacker and Gonzalez also
 4   bore the financial and reputational risks associated with wage and hour class
 5   action litigation, and executed a general release of claims. Consequently, the
 6   Court may award an incentive payment to Plaintiffs Tacker and Gonzalez “to
 7   compensate [the] class representatives for work done on behalf of the class, to
 8   make up for financial or reputational risk undertaken in bringing the action, and,
 9   sometimes, to recognize their willingness to act as a private attorney general.”
10   See Rodriguez v. West Publishing Corp., 563 F.3d 948, 958-959 (9th Cir. 2009);
11   see also Schiller, supra, 2012 WL 2117001 at *23 (granting request for incentive
12   payment based on class representative’s efforts in assisting class counsel, class
13   representative’s general release of claim, and financial risk).
14            Moreover, the requested $5,000 incentive payments are not excessive; the
15   amount constitutes less than 0.5% of the $1.1 million MSA. See, e.g., Singer v.
16   Becton Dickinson and Co., Case No. 08-CV-821-IEG (BLM) (S.D. Cal.
17   December 9, 2009) (approving incentive payment constituting 2.5% of gross
18   settlement fund); Thieriot v. Celtic Ins. Co., Case No. C 10-04462 (LB), 2011
19   WL 1522385 (N.D. Cal. April 21, 2011) (approving incentive payment
20   constituting 1.8% of gross settlement fund). For these reasons, Class Counsel
21   respectfully request that the Court grant the requested $5,000 incentive payments
22   for Plaintiffs Tacker and Gonzalez.
23   ///
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